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                IN THE UNITED STATES DISTRICT COURT
          NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

JOSE PARRA,                        )
                                   )
               Plaintiff,          )
                                   )
               v.                  )
                                   )
CITY OF CHICAGO, CRAIG SWISTOWICZ, )
and OTHER UNKNOWN OFFICERS         )
                                   )
               Defendants.         )              JURY TRIAL DEMANDED



                                  COMPLAINT


           NOW COMES Plaintiff, JOSE PARRA, by and through his

attorneys, LOEVY & LOEVY, and complaining of Defendants, CITY OF

CHICAGO, CRAIG SWISTOWICZ, and UNKNOWN OFFICERS (collectively

“Defendant Officers”), states as follows:

                                Introduction

           1.     This action is brought pursuant to 42 U.S.C.

Section 1983 to redress the deprivation under color of law of

Plaintiff’s rights as secured by the United States Constitution.

                          Jurisdiction and Venue

           2.     This Court has jurisdiction of the action pursuant

to 28 U.S.C. §§ 1331 and 1367.

           3.     Venue is proper under 28 U.S.C. § 1391(b).              On

information and belief, all parties reside in this judicial

district, and the events giving rise to the claims asserted

herein all occurred within district.
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                            Factual Allegations

           4.     Plaintiff Jose Parra is a twenty-five year old man

who at all relevant times hereto resided in Chicago, Illinois.

           5.     On September 13, 2007, Mr. Parra went with a

friend to a car repair shop near 77th and Western Streets in

Chicago.

           6.     A few minutes after Mr. Parra arrived at the shop,

several police officers entered the shop with guns drawn.

           7.     One of the officers ordered Mr. Parra to lie on

the ground, and he complied.         While Mr. Parra was on the ground,

one of the officers placed his foot on Mr. Parra’s face and

another officer placed him in handcuffs.

           8.     Once Mr. Parra was placed in handcuffs, Chicago

Police Officer Craig Swistowicz patted Mr. Parra down and found a

hand gun in the front of Mr. Parra’s waistband.

           9.     Officer Swistowicz called Mr. Parra a “stupid

Mexican motherfucker” or words to that effect, and pointed the

gun at Mr. Parra’s face.

           10.    Officer Swistowicz proceeded to strike Mr. Parra

several times about the face and head, causing his head to bounce

off the car shop’s concrete floor.          Officer Swistowicz continued

to strike Mr. Parra even though Mr. Parra was lying on the ground

handcuffed and was not a threat to anyone.




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           11.    When Officer Swistowicz was done striking Mr.

Parra in the head, he proceeded to kick the lower part of Mr.

Parra’s body.

           12.    The beating caused Mr. Parra to bleed profusely

from his right eye and his nose.           Mr. Parra’s eye swelled and

bled so much that he could not open it.

           13.    While Officer Swistowicz beat Mr. Parra, several

other police officers -- whose identities and employers are

currently not known -- stood by and watched the assault take

place.   Some of these unknown officers laughed as Mr. Parra lay

bleeding on the ground.

           14.    Thereafter, one of the officers took Mr. Parra to

St. Francis Hospital, where he was diagnosed with head injuries,

a broken nose, facial lacerations, and strained neck ligaments.

           15.    After the incident, the United States Department

of Justice (DOJ) Inspector General conducted an investigation

into the circumstances surrounding Mr. Parra’s beating.

           16.    DOJ investigators interviewed Mr. Parra, who

explained what happened in the car shop.            The investigators asked

Mr. Parra to take a polygraph examination.             Mr. Parra agreed to

take the test, which he passed.

           17.    On or around July 1, 2007, a federal grand jury

returned an indictment against Officer Swistowicz for his abusive

conduct toward Mr. Parra at the car shop.



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                       Count I -- 42 U.S.C. § 1983
                             Excessive Force

           18.    Each Paragraph of this Complaint is incorporated

herein.

           19.    As described above, the conduct of one or more of

the Defendant Officers constituted excessive force in violation

of the United States Constitution.

           20.    The misconduct described in this Count was

objectively unreasonable and was undertaken intentionally with

wilful indifference to Plaintiff’s constitutional rights.

           21.    The misconduct described in this Count was

undertaken with malice, willfulness, and reckless indifference to

the rights of others.

           22.    The misconduct described in this Count was

undertaken pursuant to the policy and practice of the Chicago

Police Department in that:

                  a.    As a matter of both policy and practice, the

Chicago Police Department directly encourages, and is thereby the

moving force behind, the very type of misconduct at issue here by

failing to adequately train, supervise and control its officers,

such that its failure to do so manifests deliberate indifference;

                  b.    As a matter of both policy and practice, the

City facilitates the very type of misconduct at issue here by

failing to adequately investigate, punish and discipline prior

instances of similar misconduct, thereby leading Chicago Police


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Officers to believe their actions will never be scrutinized and,

in that way, directly encouraging future abuses such as those

affecting Plaintiff;

                  c.    Generally, as a matter of widespread practice

so prevalent as to comprise municipal policy, officers of the

Chicago Police Department abuse citizens in a manner similar to

that alleged by Plaintiff in this Count on a frequent basis, yet

the Chicago Police Department makes findings of wrongdoing in a

disproportionately small number of cases;

                  d.    City policy-makers are aware of, and condone

and facilitate by their inaction, a “code of silence” in the

Chicago Police Department.        Police officers routinely fail to

report instances of police misconduct and lie to protect each

other from punishment, and go un-disciplined for doing so; and

                  e.    The City of Chicago has failed to act to

remedy the patterns of abuse, despite actual knowledge of the

same, thereby causing the types of injuries alleged here.

           23.    As a result of the misconduct described in this

Count, Plaintiff has suffered injuries, including but not limited

to emotional distress.

           24.    Plaintiff’s injuries were caused by employees of

the City of Chicago, including but not limited to the

individually named Defendants, who acted pursuant to the City’s

policies and practices in engaging in the misconduct described

in this Count.

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                      Count II -- 42 U.S.C. § 1983
                               Conspiracy

             25.   Each of the Paragraphs of this Complaint is

incorporated as if restated fully herein.

             26.   Defendant Officers reached an agreement among

themselves to deprive Plaintiff of his constitutional rights and

to protect one another from liability for depriving Plaintiff of

his rights, all as described in the various paragraphs of this

Complaint.

             27.   In furtherance of the conspiracy, each of the

co-conspirators committed overt acts and was an otherwise willful

participant in joint activity.

             28.   The misconduct described in this Count was

undertaken with malice, willfulness, and reckless indifference to

the rights of others.

             29.   As a direct and proximate result of the illicit

prior agreement referenced above, Plaintiff’s rights were

violated and he suffered injuries, including but not limited to

emotional distress.

             30.   Plaintiff’s injuries were caused by employees of

the City of Chicago, including but not limited to the

individually named Defendants, who acted pursuant to the City’s

policies and practices in engaging in the misconduct described in

this Count.




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                     Count III -- 42 U.S.C. § 1983
                          Failure to Intervene

            31.   Each Paragraph of this Complaint is incorporated

herein.

            32.   As described more fully above, one or more

Defendant Officers had a reasonable opportunity to prevent the

violation of Plaintiff’s constitutional rights as set forth above

had they been so inclined, but failed to do so.

            33.   Defendant Officers’ actions were undertaken

intentionally, with malice and reckless indifference to

Plaintiff’s rights.

            34.   As a direct and proximate result of the misconduct

described in this Count, Plaintiff’s rights were violated and he

suffered injuries, including but not limited to emotional

distress.

            35.   Plaintiff’s injuries were caused by employees of

the City of Chicago, including but not limited to the

individually named Defendants, who acted pursuant to the City’s

policies and practices in engaging in the misconduct described in

this Count.

                      Count IV -- State Law Claim
                           Assault and Battery

            36.   Each Paragraph of this Complaint is incorporated

herein.

            37.   As described in the preceding paragraphs, the

conduct of one or more Defendant Officers, acting under color of

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law and within the scope of his/her employment, constituted

unjustified and offensive physical contact, undertaken willfully

and wantonly, proximately causing Plaintiff bodily injuries.

           38.   The misconduct described in this Count was

objectively unreasonable and was undertaken intentionally with

willful indifference to Plaintiff’s constitutional rights.

           39.   The misconduct described in this Count was

undertaken with malice, willfulness, and reckless indifference to

the rights of others.

           40.   As a result of the offensive touching Plaintiff

sustained bodily and other injuries, including but not limited to

a reasonable apprehension of great bodily harm.

                       Count V -- State Law Claim
                           Respondeat Superior

           41.   Each Paragraph of this Complaint is incorporated

herein.

           42.   In committing the acts alleged in the preceding

paragraphs, Defendant Craig Swistowicz and other unknown

Defendant Officers were members and agents of the Chicago Police

Department acting at all relevant times within the scope of their

employment.

           43.   Defendant City of Chicago is liable as principal

for all torts committed by its agents.




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                      Count VI –- State Law Claim
                            Indemnification

           44.   Each Paragraph of this Complaint is incorporated

herein.

           45.   Illinois law provides that public entities are

directed to pay any tort judgment for compensatory damages for

which employees are liable within the scope of their employment

activities.

           46.   Defendant Craig Swistowicz and other unknown

Defendant Officers are or were employees of the Chicago Police

Department who acted within the scope of their employment in

committing the misconduct described above.



           WHEREFORE, Plaintiff, JOSE PARRA, respectfully requests

that this Court enter judgment in his favor and against

Defendants, CITY OF CHICAGO, CRAIG SWISTOWICZ, and OTHER UNKNOWN

OFFICERS, awarding compensatory damages, punitive damages, and

attorneys’ fees.

                                JURY DEMAND

           Plaintiff, JOSE PARRA, hereby demands a trial by jury

pursuant to Federal Rule of Civil Procedure 38(b) on all issues

so triable.




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                                     RESPECTFULLY SUBMITTED,


                                       /s/ Elizabeth Mazur
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